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                           UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF OKLAHOMA

BILLIE MONROE,                                 )
                                               )
                      Plaintiff,               )
                                               )
vs.                                            )
                                               )     Case No. 17-CV-247-JHP
HARTFORD UNDERWRITERS                          )
INSURANCE COMPANY                              )
                                               )
                      Defendant.               )

            DEFENDANT’S UNOPPOSED MOTION FOR EXTENSION OF TIME
              TO ANSWER, MOVE AGAINST, OR OTHERWISE RESPOND
                         TO PLAINTIFF’S COMPLAINT

       Defendant Hartford Underwriters Insurance Company (“Hartford”), pursuant to Federal

Rule of Civil Procedure 7(b) and Local Civil Rule 7.1(h), respectfully requests that the Court

issue an Order extending Hartford’s time to answer, move against, or otherwise respond to

Plaintiff’s Petition (hereinafter the “Complaint”) by fourteen (14) days or until July 19, 2017. In

support of this Motion, Hartford shows the Court as follows:

       1.      Hartford was served with the Complaint on June 7, 2017. See Service of Process

Transmittal, ECF No. 2-3.

       2.      On June 27, 2017, this case was removed to the United States District Court for

the Eastern District of Oklahoma. See Notice of Removal, ECF No. 2.

       3.      Pursuant to Federal Rules of Civil Procedure 6(a)(1)(C) and 81(c)(2), Hartford’s

answer, motion to dismiss, or other responsive pleading is currently due on July 5, 2017.

       4.      Hartford seeks a fourteen (14) day extension of its time to answer, move against,

or otherwise respond to Plaintiff’s Complaint—i.e., until July 19, 2017.
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       5.        This is the first request for an extension of time sought by Hartford, and it is

sought in good faith and not for the purpose of delay. Counsel for Hartford has been recently

retained and additional time is sought by this Motion in which to confer with client

representatives and review and investigate Plaintiff’s claims in order to prepare an appropriate

response to Plaintiff’s Complaint.

       6.        Plaintiff’s counsel has been contacted, and Plaintiff does not oppose Hartford’s

request for an extension of fourteen days.

       7.        This action is not presently set for trial and no scheduling order has been entered;

thus, granting this motion will not delay or adversely affect the trial date.

       8.        A proposed order is being submitted simultaneously to the Court for

consideration.

       Hartford respectfully requests that the Court grant its Unopposed Motion for Extension of

Time to Answer, Move Against, or Otherwise Respond to Plaintiff’s Complaint, and enter an

order extending Hartford’s deadline to July 19, 2017, to answer, move against, or otherwise

respond to Plaintiff’s Complaint.




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                                 Respectfully submitted,


                                 s/ Jodi W. Dishman
                                 Jodi W. Dishman, OBA # 20677
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                                 Attorney for Defendant Hartford Underwriters
                                 Insurance Company




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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 30th day of June, 2017, I electronically transmitted the
attached document to the Clerk of Court using the ECF System for filing. Based on the records
currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to the following
registrants:

       W. Cullen McMahon

        Additionally, I hereby certify that a true and correct copy of the above and foregoing was
sent by U.S. Postal Service and by email on the above-indicated date to:

W. Cullen McMahon, PLLC
Three Forest Plaza
12221 Merit Drive, Suite 945
Dallas, Texas 75251

cullen@mcmahonlawfirm.com

Attorney for Plaintiff

ATTORNEY FOR PLAINTIFF

                                                 s/ Jodi W. Dishman
                                                 Jodi W. Dishman




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